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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA yet
INDIANAPOLIS DIVISION — ee

 

UNITED STATES OF AMERICA,

Plaintiff,

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)
v. | Cause No. \. AO- (Y- 24 S ~ VAR
)

DONTE SWINTON,
Defendant.
INDICTMENT
COUNT ONE
18 U.S.C. § 922(g)(9)

[Possession of a Firearm After Having Been
Convicted of a Misdemeanor Domestic Violence Offense]

The Grand Jury charges that:

On or about February 5, 2020, in the Southern District of Indiana, Indianapolis Division,
the defendant, DONTE SWINTON, after knowing that he had been convicted of a misdemeanor
crime of domestic violence, to wit: Domestic Battery by Bodily Waste, Indiana Criminal Code
Section 35-42-1-1 3a), in Marion County, indiana, under cause number 49G03-1704-F5-
015106, on or about May 12, 2017, did knowingly possess in and affecting interstate commerce a
firearm, that is, an Anderson Manufacturing 5.56 semi-automatic pistol;

All in violation of Title 18, United States Code, Section 922(g)(9),

FORFEITURE ALLEGATION
1. Pursuant to Federal Rule of Criminal Procedure 32.2, the United States hereby
gives the defendant notice that the United States will seek forfeiture of property, criminally and/or
civilly, pursuant to Title 18, United States Code, Section 924(d) and Title 28, United States Code,

Section 2461(c), as part of any sentence imposed.

 
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2.

Pursuant to Title 18, United States Code, Section 924(d), if convicted of the offense

set forth in this Indictment, the defendant shall forfeit to the United States “any firearm or

ammunition involved in or used in” the offense.

3. The property subject to forfeiture includes, but is not necessarily limited to: an

Anderson Manufacturing 5.56 semi-automatic pistol, and all ammunition.

JOSH J. MINKLER
UNITED STATES ATTORNEY

   

Tayson WW. McGrath
Assistant United States Attorney

A TRUE BILL:

    

FOREPERSON —

 

 
